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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

                                :
 MEDFORD COMMONS, LLC,          :
                                :               Civil Action No.
                Plaintiff,      :               11-cv-188 (NLH)(KMW)
                                :
      v.                        :               OPINION
                                :
 LEXON INSURANCE COMPANY and    :
 BOND SAFEGUARD INSURANCE       :
 COMPANY, jointly and severally,:
                                :
                Defendants.     :
                                :
                                :
 TOWNSHIP OF MEDFORD,           :
                                :
                Intervenor-     :
                Plaintiff,      :
                                :
      v.                        :
                                :
 LEXON INSURANCE COMPANY and    :
 BOND SAFEGUARD INSURANCE       :
 COMPANY, jointly and severally,:
                                :
                Defendants.     :
                                :
                                :
 LEXON INSURANCE COMPANY and    :
 BOND SAFEGUARD INSURANCE       :
 COMPANY,                       :
                                :
                Third-Party     :
                Plaintiffs,     :
                                :
      v.                        :
                                :
 FREEDMAN COHEN DEVELOPMENT,    :
 LLC, MEDFORD VILLAGE EAST      :
 ASSOCIATES, LLC, CARL FREEDMAN,:
 individually, and MITCHELL     :
 COHEN, individually,           :
                                :
                Third-Party     :
                Defendants.     :
                                :
                                :
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 MEDFORD VILLAGE EAST           :
 ASSOCIATES, LLC, and STEPHEN D.:
 SAMOST,                        :
                                :
                Fourth-Party    :
                Plaintiffs,     :
                                :
      v.                        :
                                :
 PENNONI ASSOCIATES, INC., et   :
 al.,                           :
                                :
                Defendants.     :
                                :

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 HILLMAN, District Judge

       Fourth-party plaintiffs, Medford Village East Associates,

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 LLC (“MVE”), and Stephen D. Samost,1 filed a fourth-party amended

 complaint in the Superior Court of New Jersey on April 23, 2009.

 As part of the amended complaint, MVE named as fourth-party

 defendants Pennoni Associates, Inc. (“Pennoni”) and sought

 engineering plans and other work product possessed by Pennoni.

 On January 11, 2011, Pennoni filed its Notice of Removal in this

 Court.       MVE now moves to remand the case to the New Jersey

 Superior Court.

       For the following reasons, MVE’s Motion to Remand is

 granted, and this case is to be remanded to the Superior Court.

 I.    JURISDICTION

       This Court is asked to exercise subject matter jurisdiction

 over the underlying claim pursuant to 28 U.S.C. § 1331 and §

 1338.       Pennoni removed this action from the state court on the

 basis of a purported federal question raised by MVE concerning

 copyrights.

 II.   BACKGROUND

       The underlying basis for this litigation is a dispute,

 several years old, over a substantial property in Medford

 Township, New Jersey.       The history of this case involves numerous

 parties, real estate agreements, engineering plan proposals, and



         1
       Stephen Samost is the principal of MVE and also a fourth-
 party plaintiff in this case. For the sake of simplicity, the
 Court will refer to both fourth-party plaintiffs collectively as
 “MVE.”

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 development approvals, as well as extensive litigation in New

 Jersey state court, federal bankruptcy court, and, now, the

 federal district court.      For purposes of the present matter, this

 Court will focus primarily upon the procedural history between

 MVE and Pennoni.     Accordingly, facts involving other parties and

 issues in this global litigation will only be recited to the

 extent necessary to address this matter.

       MVE owned a 280-acre property in Medford Township and agreed

 to sell it to the Township, who, in turn, agreed to sell portions

 of the property to different parties.         Pennoni contracted with

 one of the parties involved in the property transaction to

 perform engineering services, including the modification of

 engineering plans and data.       During the course of the real estate

 transactions, Pennoni received the engineering plans and assets

 of other companies or firms involved in the property’s ongoing

 development in order to perform its work.

       In or around early 2008, litigation ensued in the Superior

 Court of New Jersey between several parties concerning the

 property and related dealings.       In March 2008, Lexon Insurance

 Company (“Lexon”), a defendant in the case, filed a third-party

 complaint against MVE.      About two months later, MVE answered

 Lexon’s complaint and filed a fourth-party complaint, in which

 Pennoni was named as one of the fourth-party defendants.            In

 light of pending bankruptcy proceedings, MVE reserved the right


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 to assert fourth-party claims against several parties including

 Pennoni and described those claims in vague contingent language.

 On the Superior Court’s docket, however, a notation dated

 November 29, 2008, states “CRT INIT TO DSM,” suggesting that the

 Superior Court initiated the dismissal of MVE’s claims against

 Pennoni to the extent the first complaint could be said to have

 alleged any.     (Pl. Mot., Exhs. 31 & 41).      The parties appear to

 be in agreement, or at least do not dispute, that the complaint

 was dismissed by a ministerial act of the clerk of the court

 pursuant to state court rules obligating plaintiffs to effect

 service and otherwise prosecute claims.

       Despite the clerk’s entry, or perhaps because of it, on

 March 18, 2009, the Judge of the Superior Court then presiding

 over the matter, whose authority presumably exceeds that of the

 clerk, entered a Management Order enumerating the following

 directives:

             1.    To the extent that any of the pleadings
                   of any party have been stricken through
                   application of a Notice from the Court,
                   those pleadings are hereby reinstated
                   without the need for any further filing.

             2.    Any amendments to pleadings or responses
                   to existing pleadings shall be filed by
                   April 23, 2009.

                         . . . .

             7.    Service of documents on any party may be
                   effected by e-mail.

 (Pl. Mot., Exh. 34, at 2).        In a Revised Management Order dated

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 April 13, 2009, the same Judge of the Superior Court reiterated

 the same provisions.

       On April 23, 2009, MVE filed an amended, and much more

 assertive and detailed, fourth-party complaint naming Pennoni as

 a fourth-party defendant and, among other things, seeking to

 compel Pennoni to “turnover [] any and all engineering plans and

 data for the Property in a reproducible form.”          (Pl. Mot., Exh.

 24, at 30).    As part of the amended complaint, MVE averred that

 “Samost and MVE retained rights in and to the engineering plans

 prepared by Pennoni.”      (Pl. Mot., Exh. 24, ¶ 190).       As

 contemplated and sanctioned by the March and April Management

 Orders, Pennoni’s counsel received a copy of the fourth-party

 amended complaint via e-mail on April 23, 2009.          Subsequently, on

 May 29, 2009, the Superior Court ordered that answers to the

 amended complaint be filed by June 15, 2009.

       On June 3, 2009, more than thirty days after receiving the

 fourth-party complaint clearly asserting ownership of the

 disputed plans and, again, in seeming compliance with the

 previously entered Management Orders, Pennoni filed its answer.2


       2
       Pennoni would probably be heard to say, as explained
 further infra, that it “attempted” to file an answer in light of
 its contention that as a matter of state procedural law no action
 was pending against them and therefore no answer would have been
 required. First, whatever may have happened before and after,
 the answer was received by the clerk and entered on the docket
 where it remains to this day. Second, as explained below, the
 Court is at a loss to understand how Pennoni can argue that the
 ministerial acts of the clerk could trump the clear unequivocal

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 Among its affirmative defenses to MVE’s claims, Pennoni stated in

 the answer filed in state court: “[MVE]’s claim is barred by the

 Doctrine of Preemption by the regulations, statutes, case law and

 Constitution of the United States of America.”          (Pl. Mot., Exh.

 26, at 42).

       Further, and not unimportantly, Pennoni set forth a

 counterclaim for conversion against MVE.         As part of that claim,

 Pennoni stated that it “holds an ownership interest in certain

 plans associated with the project which is the subject of this

 litigation.”     (Pl. Mot., Exh. 26, at 44).      Moreover, Pennoni

 averred: “MVE and Samost exercise unauthorized and wrongful

 dominion and control over the plans which dominion and control

 was to the exclusion and inconsistent with the rights of

 Pennoni.”    (Id.)   Consistent with its representations, Pennoni,

 in a separate count, also asked the Superior Court for “a

 declaratory judgment determining that it is the sole owner of the

 plans and other work product prepared for the Project to the

 exclusion of MVE and Stephen D. Samost.”         (Id. at 45).    In short,



 directions of the presiding judge regarding the reinstatement of
 the pleadings, the manner of service, and the obligation to
 answer. It appears that the clerk in later declining to
 acknowledge the answer simply failed to examine the detailed
 Management Orders previously entered by the presiding judge. The
 Court has no doubt that had the clerk examined those orders with
 the requisite care that she would have let the answer stand
 undisturbed. In sum, the clerk was wrong, and in the Court’s
 view, no reasonable attorney acting diligently to examine the
 record could reach a contrary conclusion.

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 Pennoni’s filed answer asserted federal defenses and a clear

 claim of exclusive ownership, and sought affirmative relief.

       Days after filing its answer, Pennoni received a document

 from the Civil Case Management Office of the Superior Court,

 informing Pennoni that MVE’s complaint was dismissed on November

 29, 2008.    In light of the notification, Pennoni sent a letter to

 MVE on or around June 15, 2009.           In the letter, Pennoni advised

 MVE’s counsel of Pennoni’s dismissal from the case and, absent

 any reinstatement, its intention to not participate any further

 in the litigation.      More than eight months later, in a letter

 dated March 29, 2010, Pennoni reminded the Superior Court and all

 counsel that it had been dismissed from the case and to reinstate

 any claims against it MVE would have to comply with the New

 Jersey Court Rules.      Later that year, in December 2010, Pennoni

 contacted the Superior Court to confirm that it had been

 dismissed due to lack of prosecution on November 29, 2008.3



       3
       The Court notes that while it is certainly true that no
 lawyer should help his client get sued, it is equally clear that
 Pennoni’s counsel for months made no attempt that we can discern
 to seek the state court’s assistance or guidance in reconciling
 the glaring inconsistency between the clerk’s directive and the
 previous orders of the Superior Court Judge. Stated differently,
 it is one thing to require an adversary to follow the rules of
 civil procedure. It is another thing for an officer of the court
 to rely on a ministerial error plainly inconsistent with an order
 of that same court. Whether that offends the state court we
 leave to that tribunal. What is clear here is that the claim of
 ignorance rings hollow as both the clerk’s dismissal and the
 prior Management Orders are filed on the same docket. At least
 constructive knowledge is plainly established.

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        In or around December 2010, MVE entered into a tentative

  settlement agreement with other parties involved in the project

  and litigation concerning the property.         Because MVE and Pennoni

  continued to dispute the ownership and use of the engineering

  plans, MVE requested that the Superior Court enter an order

  directing Pennoni to show cause why MVE’s fourth-party amended

  complaint should not be reinstated4 and why Pennoni should not

  have to turn over the plans, reports, and other documentation to

  which MVE had a right to retain.          The Superior Court entered the

  order and scheduled a hearing for January 12, 2011.          The day

  before the hearing, however, Pennoni filed its Notice of Removal

  on the grounds that MVE’s action implicated a federal copyright

  issue, thereby engendering a federal question.

        In response to the removal from New Jersey state court to

  this Court, MVE moves to remand the case or, alternatively, for a

  preliminary injunction against Pennoni.         On February 22, 2011,

  the Court conducted a hearing with respect to the Motion to

  Remand and specifically asked the parties to address issues

  surrounding the thirty-day removal period imposed by 28 U.S.C. §

  1446(b).   At the conclusion of the hearing, the Court granted the

  parties leave to file additional briefing on the matter.


        4
        The Court construes this not, as Pennoni does, as an
  acknowledgment that the clerk was right, only that the clerk’s
  dismissal was inconsistent with the Management Orders and should
  therefore have been vacated, in effect reinstating the fourth-
  party complaint.

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        Presently before the Court is MVE’s Motion to Remand.5

  III. DISCUSSION

        A defendant may remove a suit in state court to a federal

  district court pursuant to 28 U.S.C. § 1441 and in accordance

  with the procedures set forth by 28 U.S.C. § 1446.          “Removal is a

  statutory right, and the procedures to effect removal must be

  followed.”    Lewis v. Rego Co., 757 F.2d 66, 68 (3d Cir. 1985).

  “The district court must resolve all contested issues of fact and

  uncertainties of law in favor of the plaintiff.”          Bank of N.Y. as

  Tr. for the Certificate Holders CWABS, Inc. v. Ukpe, 2009 U.S.

  Dist. LEXIS 115557, at *11 (D.N.J. Dec. 9, 2009) (citing Boyer v.

  Snap-On Tools Corp., 913 F.2d 108, 111 (3d Cir. 1990)).           As such,

  “the court should strictly construe removal statutes and resolve

  all doubts in favor of remand.”       Id. (citing Abels v. State Farm

  Fire & Cas. Co., 770 F.2d 26, 29 (3d Cir. 1985)).

        Particularly relevant to the present matter, Section 1446(b)

  provides:

              The notice of removal of a civil action or


        5
        MVE also filed a Motion “to Expedite Consideration of the
  Motion to Remand.” The Court, in effect, has granted that motion
  by considering MVE’s Motion to Remand and holding a hearing on
  the motion so soon after its filing. In this case, the Court
  recognizes that a significant delay in the resolution of this
  Motion to Remand could halt the entire, lengthy proceedings that
  have unfolded in New Jersey state court and beyond –- all because
  of the removal of a fourth-party defendant who does not appear to
  have secured the consent of other defendants for its removal –-
  and could jeopardize tentative settlement agreements reportedly
  in place among certain parties.

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             proceedings shall be filed within thirty days
             after the receipt by the defendant, through
             service or otherwise, of a copy of the initial
             pleading setting forth the claim for relief
             upon which such action or proceeding is based,
             or within thirty days after the service of
             summons upon the defendant if such initial
             pleading has then been filed in court and is
             not required to be served on the defendant,
             whichever period is shorter.

             If the case stated by the initial pleading is
             not removable, a notice of removal may be
             filed within thirty days after receipt by the
             defendant, through service or otherwise, of a
             copy of an amended pleading, motion, order or
             other paper from which it may first be
             ascertained that the case is one which is or
             has become removable . . . .

  28 U.S.C. § 1446(b).

        Given that the thirty-day notice of removal mandate is a

  threshold matter to determining the propriety of a removal, the

  Court is compelled to address that issue before delving into any

  of the parties’ other contentions.

        MVE argues that its fourth-party amended complaint put

  Pennoni on notice, upon receipt of the complaint via e-mail on

  April 23, 2009, that MVE asserted an ownership interest in

  Pennoni’s engineering plans.       Thus, MVE argues that Pennoni had

  until May 23, 2009 to remove the suit.        Because removal did not

  occur until January 2011, Pennoni’s removal was untimely, MVE

  concludes.    Moreover, any challenges to the viability of MVE’s

  fourth-party amended complaint, MVE submits, are baseless by

  virtue of the Superior Court’s orders issued in March and April


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  of 2009, which reinstated MVE’s claims and permitted MVE to file

  an amended complaint, and also the May 29, 2009 order directing

  defendants to answer by June 15, 2009.         MVE believes that

  Pennoni’s justifications for its untimely removal are undermined

  by Pennoni’s filing of its answer on June 3, 2009 –- in

  compliance with the Superior Court’s order –- and, in its answer,

  Pennoni’s assertion of federal preemption as an affirmative

  defense and counterclaims intended to challenge any ownership

  claim that MVE had in Pennoni’s plans.         According to MVE,

  Pennoni’s answer, including the affirmative defense and

  counterclaim, refute Pennoni’s representations that it was

  unaware until later of a federal question in this matter or MVE’s

  claim of ownership.

        On the contrary, Pennoni argues that it could not remove the

  case from state court until it was an actual party in the

  litigation and could reasonably ascertain a basis for removal.

  As illustrated by the documentation furnished by the Superior

  Court’s Civil Case Management Office on June 5, 2009, Pennoni

  explains that it was dismissed from the case in November 2008 and

  that MVE never reinstated any action against it in accordance

  with the New Jersey Court Rules.          Accordingly, Pennoni contends

  that it was not a party to the case on or around June 2009 and

  therefore could not have removed the matter until it received the

  order to show cause in December 2010.         The December 2010 order to


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  show cause, says Pennoni, first evinced MVE’s federal copyright

  claim, informing Pennoni of a federal question in the case and,

  consequently, a basis for removal.        Lastly, Pennoni contends that

  the removal period did not commence in or around April 2009

  because MVE failed to sufficiently serve Pennoni with the fourth-

  party amended complaint.

        The Court agrees with MVE that Pennoni’s removal exceeded

  the thirty-day limit imposed by 28 U.S.C. § 1446(b) and thus was

  untimely.    First, in reaching this conclusion, the Court finds

  that MVE’s fourth-party amended complaint sufficiently asserts a

  claim of ownership by MVE over Pennoni’s engineering plans,

  reports, and other documentation in a manner from which Pennoni

  could have reasonably ascertained that the matter implicated a

  federal question of copyrights.       Contrary to Pennoni’s narrow

  construction of the amended complaint, in its claim of conversion

  against Pennoni, MVE averred, expressly and unambiguously, that

  “Samost and MVE retained rights in and to the engineering plans

  prepared by Pennoni.”      (Pl. Mot., Exh. 24, ¶ 190).      MVE also

  announced in the amended complaint that it sought to compel

  Pennoni to “turnover [] any and all engineering plans and data

  for the Property in a reproducible form.”         (Id. at 30).    Despite

  whatever factual distinctions Pennoni may draw from the

  averments, MVE’s fourth-party amended complaint clearly

  articulates MVE’s claim to ownership in the engineering plans


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  possessed, created, and modified by Pennoni.         From those

  pronouncements Pennoni could have reasonably ascertained a

  challenge to its ownership over its plans that may have

  implicated a federal copyright issue.        In fact, Pennoni did

  realize as much.

        In its answer to the amended complaint, Pennoni set forth an

  affirmative defense on the basis of federal preemption.           In

  particular, Pennoni stated: “[MVE]’s claim is barred by the

  Doctrine of Preemption by the regulations, statutes, case law and

  Constitution of the United States of America.”         (Pl. Mot., Exh.

  26 at 42).    Consequently, Pennoni recognized through its own

  affirmative defense that any assertion by MVE of ownership over

  Pennoni’s plans could be preempted by federal law, presumably

  federal copyright law.

        Moreover, in its answer, Pennoni advanced its own

  counterclaim for conversion -- mirroring MVE’s conversion claim -

  - in which Pennoni asserted that it “holds an ownership interest

  in certain plans associated with the project which is the subject

  of this litigation” and that MVE exercises “unauthorized and

  wrongful dominion and control over the plans which dominion and

  control was to the exclusion and inconsistent with the rights of

  Pennoni.”    (Id. at 44).    Additionally, Pennoni asked the Superior

  Court for “a declaratory judgment determining that it is the sole

  owner of the plans and other work product prepared for the


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  Project to the exclusion of MVE and Stephen D. Samost.”           (Id. at

  45).       Together, Pennoni’s averments in support of its

  counterclaims demonstrate its awareness that the subject of MVE’s

  fourth-party suit, and central to MVE’s claims, was the ownership

  rights to Pennoni’s plans and work product.         Therefore, for those

  foregoing reasons, MVE’s fourth-party amended complaint should

  have reasonably informed Pennoni of a federal question in this

  matter.

         In defense of its failure to remove the case, Pennoni

  contests the legitimacy of MVE’s fourth-party amended complaint -

  - specifically, that MVE did not reinstate its original complaint

  in accordance with New Jersey Court Rule 1:13-7.6

  Notwithstanding MVE’s original complaint against Pennoni in May

  2008 and its purported dismissal,7 the Superior Court authorized

  MVE’s fourth-party amended complaint in its orders dated March

  18, 2009 and April 13, 2009.       Those orders specified that any of


         6
        New Jersey Court Rule 1:13-7(a) provides that if a
  plaintiff fails to proceed with its action, the action against
  the defendant will be dismissed. Thereafter, the plaintiff must
  reinstate its action through either a consent order or, depending
  on the time frame, a motion to show good cause or exceptional
  circumstances.
         7
        Pennoni repeatedly points out that the Superior Court
  initiated dismissal of MVE’s original complaint, for lack of
  service, on November 29, 2008. However, it is worth noting that
  New Jersey Court Rule 1:13-7(a) requires that the state court
  ultimately enter an order of dismissal. There is nothing in the
  record, including a copy of the Superior Court’s docket, to show
  that an order of dismissal relating to MVE’s original complaint
  or its claims against Pennoni was entered by the Superior Court.

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  the parties’ pleadings that had been “stricken through

  application of a Notice from the Court” were “reinstated without

  the need for any further filing.”8         (Pl. Mot., Exhs. 34, at 2 &

  35, at 2).    To the extent that MVE’s original complaint had been

  dismissed and Pennoni was terminated as a party, the Superior

  Court’s orders appear to reinstate them.9         Nevertheless, the

  Superior Court’s orders also permitted the parties to amend their

  pleadings by April 23, 2009.       MVE’s fourth-party amended

  complaint, filed on that date, complied with the Superior Court’s

  orders, and expressly named as a defendant and set forth

  allegations against Pennoni.       Therefore, nothing suggests that

  MVE’s fourth-party amended complaint is in any way defective or

  invalid in and of itself.      Consequently, Pennoni had until May

  23, 2009, thirty days after being served the fourth-party amended

  complaint, to remove the matter.          Pennoni failed to do so.

        In spite of the Superior Court’s orders, Pennoni also argues



        8
        In a letter dated May 7, 2009 that was addressed to the
  Superior Court and sent, via e-mail, to all counsel including
  Pennoni’s, MVE’s counsel referenced the April 13, 2009 order.
  Appended to the letter was a draft order -- eventually revised
  and entered by the Superior Court on May 29, 2009 –- entitled,
  “ORDER ON MOTIONS AND MODIFICATION OF APRIL 13, 2009 MANAGEMENT
  ORDER.” (Pl. Mot., Exh. 29). The letter and draft order
  addressed the filing of amended pleadings and answers thereto.
  The letter shows that Pennoni had received notice of the Superior
  Court’s proceedings no later than around May 7, 2009.
        9
        New Jersey Court Rule 1:13-7(a) allows a court to “impos[e]
  reasonable additional or different procedures to facilitate”
  proceedings in relation to a particular defendant.

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  that the process of service of the fourth-party amended complaint

  by e-mail was insufficient and, thus, Pennoni’s receipt of the

  complaint on April 23, 2009 did not commence the thirty-day

  removal period.10    Pennoni relies on Murphy Brothers., Inc. v.

  Michetti Pipe Stringing, Inc., 526 U.S. 344 (1999), in which the

  Supreme Court of the United States held that “a named defendant’s

  time to remove is triggered by simultaneous service of the

  summons and complaint, or receipt of the complaint, ‘through

  service or otherwise,’ after and apart from service of the

  summons, but not by mere receipt of the complaint unattended by

  any formal service.”     Id. at 347-48.     In that case, the Supreme

  Court rejected the commencement of the thirty-day removal period

  by the defendant’s mere receipt of a faxed courtesy copy of the

  complaint.    The Supreme Court predicated its decision, in part,

  on the “bedrock principle” that “[a]n individual or entity named

  as a defendant is not obliged to engage in litigation unless

  notified of the action, and brought under a court’s authority, by

  formal process.”     Id. at 347.

        Contrary to Pennoni’s assertions, however, Murphy Brothers

  does not support Pennoni’s position, but rather supports the


        10
        While Pennoni asserted insufficiency of service of process
  as an affirmative defense in its answer to MVE’s fourth-party
  amended complaint, it never attempted to dismiss the case on
  those grounds. New Jersey Court Rule 4:6-3 directs a defendant
  to move for dismissal on the basis of insufficiency of process or
  service of process within ninety days of the service of the
  defendant’s answer.

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  Court’s conclusion that Pennoni did not timely remove MVE’s

  action after being served with the fourth-party amended

  complaint.    The import of Murphy Brothers is that the thirty-day

  removal period cannot run on a defendant until that defendant (1)

  has notice of the plaintiff’s action against it -- including the

  facts or claims that would enable the defendant to remove the

  case –- and (2) is compelled by judicial act or writ to defend

  itself against the plaintiff’s action.        As such, the Supreme

  Court explained in its Opinion: “[O]ne becomes a party

  officially, and is required to take action in that capacity, only

  upon service of a summons or other authority-asserting measure

  stating the time within which the party served must appear and

  defend.”   Id. at 350 (emphasis added).       In this case, Pennoni

  became an official party and was required to take action upon the

  Superior Court’s entry of its orders dated March 18, 2009 and

  April 13, 2009, as explained supra, and the subsequent May 29,

  2009 order.

        Once more, the Superior Court’s orders dated March 18, 2009

  and April 13, 2009 reinstated the parties’ prior pleadings,

  permitted the parties to file amended pleadings, and allowed

  service of any documents to be effected on any party by e-mail.

  Pursuant to the Superior Court’s orders, MVE adequately served

  the amended complaint on Pennoni through e-mail.          Thereafter, the

  Superior Court’s May 29, 2009 order directed defendants to submit


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  their answers to the amended complaint by June 15, 2009, a

  judicial decree observed and obeyed by Pennoni.          In light of

  those orders, MVE’s service of the amended complaint comported

  with the Superior Court’s directive and the Superior Court

  asserted its authority over those defendants named in the amended

  pleading, including Pennoni, by compelling them to respond.

  Cognizant of MVE’s fourth-party amended complaint and the

  Superior Court’s authority over the matter, Pennoni complied with

  the May 29, 2009 order and filed an answer.         In so doing, Pennoni

  set forth its affirmative defense of federal preemption and

  actively availed itself of the Superior Court’s jurisdiction by

  asserting counterclaims in support of its own ownership rights.

  Therefore, consistent with Murphy Brothers, Pennoni received, and

  responded to, notice of the plaintiff’s action and the assertion

  and compulsion of judicial authority.        As such, Pennoni cannot

  justify its belated attempt at removal by disapproving of the

  Superior Court’s orders or MVE’s conduct as authorized by those

  orders.

        In sum, the Court concludes that despite its knowledge of

  MVE’s claims and the existence of a federal question, Pennoni did

  not attempt to remove this case within the time designated by the

  federal removal statute.      Accordingly, MVE’s Motion to Remand is

  granted, and this case will be remanded to the New Jersey

  Superior Court.


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  IV.   CONCLUSION

        For the foregoing reasons, MVE’s Motion to Remand is

  granted, and this matter is to be remanded to the New Jersey

  Superior Court.     An Order consistent with this Opinion will be

  entered.



  Dated: April 1, 2011                       /s/ NOEL L. HILLMAN
  At Camden, New Jersey                     NOEL L. HILLMAN, U.S.D.J.




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